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    %AO 245B     (Rev. 9/00) Judgment in a Criminal Case
                 Sheet 1
                                                                                                                         fill FEl3 23 PM lz: f 3
                                           UNITED STATES DISTRICT COURT "'1~'''~. IL~ ,,!:~TB ICT ~1'.l!!'l
                                                SOUTHERN DISTRICT OF CALIFORNIA                                      slfuM!PNr>t$lh.MT o! CA•n~i'M'I>

                   UNITED STATES OF AMERICA
                              v.
                                                                                 JUDGMENT IN A CRll\f.JNAL CASE
                                                                                 (For Offenses Committed On or After November 1, 1987)
                                                                                                                                              ~E·PaTY
                          JAMES DULEY (16)                                       Case Number: 15CR23 l 0-WQH
                                                                                  BRIAN FUNK, CJA
                                                                                 Defendant's Attorney
   REGISTRATION NO. 36501034

   D
   THE DEFENDANT:
   lgj pleaded guilty to count(s) 2 OF THE SUPERSEDING INDICTMENT

   D was found guilty on count(s)        ~--------------------------------~
         after a plea of not guilty.
         Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s)t
                                                                                                                                           Count
   Title & Section                       Nature of Offense                                                                                Number(s)
18 use 1955                         ILLEGAL GAMBLING                                                                                      2




           The defendant is sentenced as provided in pages 2 through _ _~4___ of this judgment. The sentence is imposed pursuant
   to the Sentencing Reform Act of 1984.
   D The defendant has been found not guilty on count(s)           ~-------------------------

   0 Count(s)     ~~~~~~~~~~~~~~~~
                                                                           is   D areOdismissed on the motion of the United States.
   lgj Assessment: $100.00 SIA



   D Fine ordered waived                  D Forfeiture pursuant to order filed                                         included herein.
            IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
   or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
   defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.


                                                                                 FEBRUARY 21, 2017
                                                                                 Date of Imposition of Sentence




                                                                                                                  15CR2310-WQH
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AO 2450      (Rev. 3110) Judgment in a Criminal Case for Revocations
             Sheet 2 -- Probation
                                                                                                         Judgment-Page       2     of   ---'•'----
DEFENDANT: JAMES DULEY (16)
CASE NUMBER: 15CR2310-WQH
                                                                       PROBATION
The defendant is herebv sentenced to nrobation for a term of:
 5YEARS

The defendant shall not commit another federal, state, or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of placement on probation and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than      drug tests per month during
the term of supervision, unless otherwise ordered by court.                                         --

D The  above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
   future substance abuse. (Check, if applicable.)
       The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
       The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
       Backlog Elimination Act of2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).
       The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
       or is a student, as directed by the probation officer. (Check, if applicable.)

D The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of probation that the defendant pay any such fine or
restitution in accordance with the Schedule of Payments sheet of this judgment.
        The defendant shall comply with the standard conditions that have been adopted by this court (set forth below). The defendant shall
also comply with the special conditions imposed.


                                       STANDARD CONDITIONS OF SUPERVISION
  1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days
        of each month;
  3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)    the defendant shall support his or her dependents and meet other family responsibilities;
  5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
        acceptable reasons;
  6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
        substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
        a felony, unless granted permission to do so by the probation officer;
 10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
        any contraband observed in plain view of the probation officer;
 11)    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
        officer;
 12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
        permission of the court; and
 13)    as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
        criminal record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm
        the defendant's compliance with such notification requirement.


                                                                                                                                 15CR2310-WQH
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        AO 2458 (CASD) (Rev. 4/14) Judgment in a Criminal Case
                   Sheet 4 - Special Conditions
                                                                                                           Judgment-Page   -~ _     of _ _4~--
        DEFENDANT: JAMES DULEY (16)
        CASE NUMBER: 15CR2310-WQH




                                              SPECIAL CONDITIONS OF SUPERVISION
    Submit person, property, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in
    a reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to
    a search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
    this condition.

D If deported, excluded, or allowed to voluntarily return to country of origin, not reenter the United States illegally and report to the probation
    officer within 24 hours of any reentry to the United States; supervision waived upon deportation, exclusion or voluntary departure.
D Not transport, harbor, or assist undocumented aliens.
D Not associate with undocumented aliens or alien smugglers.
D Not reenter the United States illegally.
D Not enter or reside in the Republic of Mexico without written permission of the Court or probation officer.
jg! Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
D Not possess any narcotic drug or controlled substance without a lawful medical prescription.
0 Not associate with k:no~ users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.
~ Notify the Collections Unit, United States Attorney's Office, of any interest in property obtained, directly or indirectly, including any interest
    obtained under any other name, or entity, including a trust, partnership or corporation until the fine or restitution is paid in full.




D
jg! Provide complete disclosure of personal and business financial records to the probation officer as requested.
D Be prohibited from opening checking accounts or incurring new credit charges or opening additional lines of credit without approval of the
    probation officer.

~ Not participate in any form of sports wagering activity
D Resolve all outstanding warrants within        days.
D Complete          hours of community service in a program approved by the probation officer within
D Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of
~ Notify the Collections Unit, United States Attorney's Office, before transferring any interest in property owned, directly or indirectly,
    including any interest held or owned under any other name, or entity, including a trust, partnership or corporation.




                                                                                                                                      15CR2310-WQH
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AO 245S      Judgment in Criminal Case
             Sheet 5 - Criminal Monetary Penalties
                                                                                                       Judgment- Page _ _4_ _ of     4
DEFENDANT: JAMES DULEY (16)                                                                     II
CASE NUMBER: 15CR2130-WQH

                                                                       FINE

      The defendant shall pay a fine in the amount of ____
                                                         $1_5_,o_o_o_.o_o_ _ _unto the United States of America.




          This sum shall be paid          >C    immediately.
                                                as follows:


           Pay a fine in the amount of$15,000.00 through the Clerk, U.S. District Court. Payment of fine shall be forthwith.
           During any period of incarceration the defendant shall pay fine through the Inmate Financial Responsibility
           Program at the rate of 50% of the defendant's income, or $25.00 per quarter, whichever is greater. The defendant
           shall pay the fine during his supervised release at the rate of $200 per month. These payment schedules do not
           foreclose the United States from exercising all legal actions, remedies, and process available to it to collect the
           fine judgment at any time. Until fine has been paid, the defendant shall notify the Clerk of the Court and the
           United States Attorney's Office of any change in the defendant's mailing or residence address, no later
           than thir(y (30) days after the change occurs.


          The Court has determined that the defendant _ _ _ _ _ have the ability to pay interest. It is ordered that:

   __ The interest requirement is waived.



           The interest is modified as follows:




                                                                                                     15CR2130-WQH
